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                        6                                UNITED STATES DISTRICT CO URT
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j                       8 UNITED STATES OF AM ERICA,            )                                            '
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                        9           Plaintiff,                  )
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i                  .   I0     v.                                )              2:06-CR-0002-RCJ-GW F
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;                      ll PAMELA BEARDSLEY,                     )               ORDER
:                                                               )
                       l2           Defendant.                  )
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                       l3                                       )
                       l4     OnM arch 1l,20ll,DefendantPamelaBeardsley(çtDefendant'')appeared beforetheCourton
:                      15 a Petition to M odify the ConditionsofSupew ision.
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                       l6         IT IS ORDERED,D efendant'spreviously im posed conditionsarem odified thisdate to include
;                      17 tjje s jjow ing;
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                       I8         R esidential Substance Abuse Treatm ent - Defendant shall reside at, participate in,and
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;                      l9         successfullycompletetheChemicalAbuseRehabilitationEnvironmentICAREIprogram,for
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                                  a period of up to seven (7) months>as approved and directed by the probation officer.
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E                      21         Additionally,ifthedefendanttestspositiveforalcoholancl/oracontrolled substanceorviolates
                       22         theconditionsoftheC.A.R.E.program ,shewillbetaken into custody fora m inim um custodial
                       23         period ofseven days.
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!                      25         Transportation Prohibition - Defendantshallnotenter any privately owned conveyance
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                       26         vehicle. Defendantshallnotbe apassengerordriverofsuch vehicle.
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!              l       IT IS SO ORDERED .
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i              3       DATED:ThisI6'bdayofMarch,2011.
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                                                   nited States 'trictJudge
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